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                  EXHIBIT 10
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                             ATTORNEYS' EYES ONLY

1                        UNITED STATES DISTRICT COURT
2                    NORTHERN DISTRICT OF CALIFORNIA
3                            SAN FRANCISCO DIVISION
4
5     WAYMO LLC
6             Plaintiff,
7                    vs.                         Case No.
8     UBER TECHNOLOGIES,INC.;                    17-cv-00939-WHA
9     OTTOMOTTO, LLC; OTTO
10    TRUCKING LLC,
11            Defendants.
12    ____________________________
13
14                         **ATTORNEYS' EYES ONLY**
15
16            VIDEOTAPED DEPOSITION OF TRAVIS KALANICK
17                         San Francisco, California
18                          Thursday, July 27, 2017
19                                       Volume I
20
21    REPORTED BY:
22    REBECCA L. ROMANO, RPR, CSR No. 12546
23    JOB NO. 2665725
24
25    PAGES 1 - 329

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1                 We wanted to give the employees the                 08:25:27

2     confidence that we had that the technology was

3     built from the ground up.

4            Q.   Was the meeting called in connection with

5     the filing of the lawsuit?                                      08:25:36

6            A.   Yes.

7            Q.   Okay.   And who spoke on that subject?

8            A.   So I spoke for part of it.        Anthony spoke

9     for part of it.     A large portion of the speaking

10    time was taken by James Haslam, who was the head of             08:26:00

11    the laser effort at ATG.

12                Angela spoke.   And, I mean, other people

13    may have, but I don't remember.

14           Q.   Did you have a discussion with

15    Mr. Levandowski before the meeting started to                   08:26:25

16    discuss what he was going to speak about and what

17    you were going to speak about?

18           A.   I don't recall specific discussion, but I

19    may have.

20           Q.   Would you expect that you would have?               08:26:37

21           A.   I -- I certainly would have liked to.

22           Q.   Do you have any reason to believe you did

23    not?

24           A.   I just don't remember specific

25    discussion.    Doesn't mean I didn't have it, I                 08:26:51

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1     just -- I don't remember.                                         08:26:54

2                     You know, the -- I had my -- my meetings.

3     My days are just scheduled sort of -- they're very

4     full.        They start early in the morning and they go

5     sometimes till 11:00 p.m. or midnight.              And           08:27:04

6     sometimes it could be, you know, just I talked to

7     somebody in the minutes between meetings.

8     Sometimes the meetings just keep rolling.

9     Sometimes they go long.

10            Q.      But you -- you saw him and you interacted         08:27:16

11    with him at this all-hands meeting, correct?

12            A.      Correct.   Yes.

13            Q.      Did you ask him, What's the deal with

14    these allegations about downloading documents?

15            A.      I don't remember specifically saying              08:27:27

16    that, but that feels, of course, like something

17    that I would want to know.

18            Q.      What did you -- what do you remember

19    saying?

20            A.      I -- I don't remember that -- like that           08:27:34

21    kind of interaction specifically.            But he certainly

22    explained himself during that -- during that

23    meeting.

24            Q.      Wouldn't you expect that you would ask

25    him that question personally?                                     08:27:51

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1     meeting?                                                             08:31:28

2             A.      Cameron.    I am trying to think who else.

3     Nina.        Anthony was there.     I was there.

4                     There may have been others.         I don't -- I

5     don't remember.                                                      08:31:47

6             Q.      This was an in-person meeting?

7             A.      Yeah.

8             Q.      Where was it?

9             A.      It was at Uber HQ, 1455 Market Street.

10            Q.      Why would Mr. Levandowski tell you at                08:32:03

11    this meeting that he had had five discs of Google

12    files?

13                    MS. DUNN:    Objection to form.

14                    THE DEPONENT:     I don't know why he told

15    us.     But it's important when you do a deal that                   08:32:15

16    people sort of disclose if there's any -- any

17    things that need to be discussed before a deal is

18    consummated.

19            Q.      (By Mr. Verhoeven)     Were there some

20    circumstances that made it appropriate at this                       08:32:30

21    meeting for him to disclose that, that you're aware

22    of?

23            A.      I don't remember.     I don't remember

24    anything specific.

25            Q.      What was the purpose of the meeting?                 08:32:38

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1             A.   You know, I think as we get closer to            08:32:45

2     deals, we have to have discussions about, Okay,

3     what are the things we need to do to get a deal

4     done?

5                  I don't -- I don't know the specific             08:32:53

6     purpose though.

7             Q.   You don't remember?

8             A.   No.

9             Q.   Going back to the all-hands meeting --

10            A.   Yeah.                                            08:33:05

11            Q.   -- you don't remember having a discussion

12    with Mr. Levandowski after he made his

13    presentation?

14            A.   I mean, I've had many discussions with

15    Levandowski like over the years.                              08:33:19

16            Q.   I meant -- I meant -- let me --

17            A.   Yeah.

18            Q.   I'm sorry.   The question was vague.

19            A.   Yeah.

20            Q.   You don't remember any conversation              08:33:26

21    during the meeting, after he made the presentation,

22    with Mr. Levandowski?

23            A.   Well, the meeting was -- I mean, the

24    meeting wasn't a discussion between him and me.

25    The meeting was us sort of speaking to the company.           08:33:38

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1             Q.   Did he -- what else did he say when he           08:37:30

2     spoke at the meeting?

3             A.   I think that was the majority of it.

4             Q.   Do you remember anything else that

5     Mr. Haslam said when he spoke at the meeting?                 08:37:40

6             A.   I do not.

7             Q.   What about Ms. Padilla?

8             A.   Ms. Padilla, she spoke about our

9     confidence that we had built this technology from

10    the ground up, and spoke about, sort of at a high             08:38:01

11    level, sort of the kind of processes we go through

12    to make sure that the technology we build is -- is

13    ours.

14            Q.   And what processes did she talk about?

15            A.   She didn't go into the process -- any            08:38:21

16    processes in detail, but, you know, just our

17    values, you know, and the things we do, just at a

18    high level, to make sure that we built things the

19    right way.

20            Q.   And what things did -- did that -- that          08:38:37

21    Uber does --

22            A.   Yeah.

23            Q.   -- did she mention?

24            A.   I don't remember specifically what those

25    were that she mentioned.                                      08:38:45

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1           Q.     Okay.                                            08:47:29

2           A.     So --

3           Q.     Which meeting was that?

4           A.     That was the meeting that had Cameron and

5     Nina and Anthony, and possibly others, I just can't           08:47:37

6     remember.     And this is the meeting we spoke to

7     earlier -- that I spoke to earlier.

8           Q.     Okay.   So this is the meeting about the

9     five discs or that -- in which the five discs came

10    up?                                                           08:47:54

11          A.     Well, I -- I'm not sure how many discs,

12    but it was something like that, yes.

13          Q.     Okay.   And why were you having that

14    meeting?

15          A.     Okay.   We were having that meeting              08:48:06

16    because -- well, I don't remember the exact, like,

17    calendar request or purpose, but we were getting

18    through a deal process and we wanted to sort of get

19    to the -- see if we can get to closure on the deal.

20          Q.     Did someone at the meeting ask                   08:48:28

21    Mr. Levandowski whether or not he had any Google

22    documents?

23          A.     I don't remember that.

24          Q.     Do you remember whether he volunteered it

25    or whether it was in response to a question?                  08:48:38

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1           A.     I don't remember specifically.                     08:48:44

2           Q.     Was anything else discussed at the

3     meeting?

4           A.     I think so, yes.

5           Q.     Can you tell me what you remember.                 08:48:50

6           A.     I don't remember much of it.

7           Q.     Do you remember anything, though?

8           A.     Not really.

9           Q.     Okay.   So the answer is no?

10          A.     The answer is not really.                          08:49:02

11          Q.     But you don't remember -- you can't

12    identify for me anything else that occurred in the

13    meeting, correct?

14                 MS. DUNN:     Objection to form.

15                 THE DEPONENT:     I'm trying to think if           08:49:13

16    there's anything.        I mean, other than generally

17    just talking about the deal and getting the deal to

18    closure, I -- I don't have more specifics on that.

19          Q.     (By Mr. Verhoeven)      Okay.     Did you have

20    another meeting during the March/April time frame               08:49:36

21    on the subject of Levandowski and Google or Waymo

22    documents?

23          A.     I had at least a couple meetings with my

24    general counsel about diligence, generally.

25          Q.     Was the subject of Google documents                08:50:03

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1      discussed during those meetings?                              08:50:06

2                 MS. DUNN:    Objection.     The content of

3      those meetings would be privileged.

4                 You're instructed not to answer.

5           Q.    (By Mr. Verhoeven)     And when you say            08:50:17

6      "general counsel," who was that at the time?

7           A.    Salle Yoo.

8           Q.    Was the subject of diligence concerning

9      Mr. Levandowski discussed at this meeting?

10                MS. DUNN:    Objection.     Content of the         08:50:38

11     meeting and discussions is privileged.

12                You're instructed not to answer.

13          Q.    (By Mr. Verhoeven)     There was a couple of

14     meetings, correct?

15          A.    I remember -- I remember a couple.        Like     08:50:49

16     it -- it's -- it feels like it was a couple.         I

17     don't know for sure, but something like that.

18          Q.    Who was at the first meeting?

19          A.    I don't know.    I know that our general

20     counsel was.    I'm not sure if there were others             08:51:05

21     there or not.    I can't remember.

22          Q.    Do you remember if there were outside

23     counsel?

24          A.    I can't remember.     I don't think so.

25          Q.    Was anyone from Morrison Foerster there?           08:51:15

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1           A.     I don't know.                                    08:51:22

2           Q.     Was anyone from O'Melveny Myers there?

3           A.     I don't know.

4           Q.     Same questions for the second meeting.

5      Do you remember who was there?                               08:51:30

6           A.     No, not specifically.

7           Q.     You do remember that general counsel

8      Salle Yoo was there?

9           A.     Yes.

10          Q.     Was anyone else from Uber there?                 08:51:39

11          A.     Possibly, but I just -- I just don't

12     remember.

13          Q.     Was anyone from Otto there?

14          A.     I don't know.   I don't think so.

15          Q.     Was Mr. Levandowski there?                       08:51:51

16          A.     I don't think so.

17          Q.     And that goes for the -- the first of

18     those two meetings, too?

19          A.     Yeah.

20          Q.     Did you learn that -- at either of these         08:52:09

21     meetings, did you learn that Mr. Levandowski had

22     taken Google documents when he left?

23                 MS. DUNN:   Objection.     Contents of the

24     meeting would be privileged communications.

25                 The witness is instructed not to answer.         08:52:23

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1                  And then you get a very confirma- -- I             09:02:34

2      got a very confirmatory, Absolutely not.

3                  And then my second thing is, We are going

4      to make sure that that is the case.         We are going

5      to have independent investigators look into this               09:02:44

6      and find out whether that is true.         And you need to

7      make sure that that continues to be true.

8             Q.   (By Mr. Verhoeven)    Okay.     Do you

9      remember what you said to him about having

10     independent investigators --                                   09:03:02

11            A.   No.

12            Q.   -- make sure?

13            A.   I don't remember the specifics, but we

14     certainly had an investigation that started looking

15     through every server forensically, and started                 09:03:15

16     interviewing -- started interviewing, you know,

17     many engineers, dozen of engineers, to verify that

18     they hadn't seen any files, and verify that those

19     files never touched us.

20            Q.   Did you direct that specifically to                09:03:33

21     happen?

22            A.   Our chief security officer, Joe Sullivan,

23     did.

24            Q.   And how do you know that?

25            A.   At some point I was told that that was             09:03:42

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1      going on.                                                    09:03:45

2           Q.      By whom?

3           A.      I don't remember.

4           Q.      You don't remember?

5           A.      No.                                             09:03:48

6           Q.      What conversations did you have within

7      Uber about this investigation that you referred to?

8                   MS. DUNN:   I will just caution the

9      witness to only answer to the extent that it

10     doesn't involve conversations with counsel.                  09:04:02

11                  THE DEPONENT:    Yeah.

12                  MR. VERHOEVEN:    So just for the record,

13     Counsel, you're instructing the witness not to

14     answer any conversations he had with counsel about

15     the subject of any investigations that were done             09:04:10

16     after the filing of the complaint?

17                  MS. DUNN:   I am -- I am instructing the

18     witness to answer your question only to the extent

19     that it doesn't involve privileged communications

20     with counsel.      That's my instruction.                    09:04:21

21                  MR. VERHOEVEN:    Including conversations

22     on the subject of investigations done after the

23     complaint?

24                  MS. DUNN:   Charlie, your responsibility

25     is to ask the question.                                      09:04:29

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1           Q.      Who did you learn -- where did that --          10:07:24

2      withdrawn.     Sorry.

3                   That recollection you are talking about,

4      did somebody say something that gave you that

5      recollection or gave you the information that you            10:07:32

6      are recalling?

7                   MS. DUNN:   Objection to form.

8                   THE DEPONENT:   I feel like that was part

9      of the conversation, but I can't specifically

10     pinpoint who said what.                                      10:07:43

11          Q.      (By Mr. Verhoeven)    What did Levandowski

12     say about whether he had the files or not?

13          A.      I don't -- I don't remember.

14          Q.      Did it seem strange to you, this story he

15     was telling about wanting to have the files to show          10:08:00

16     this contribution?

17                  MS. DUNN:   Objection to form.

18                  THE DEPONENT:   It seemed unfortunate.

19     Whether it was strange or not, I don't know, but it

20     was certainly unfortunate.                                   10:08:16

21          Q.      (By Mr. Verhoeven)    Why would -- why

22     would it make sense for an employee to steal

23     corporate files for the purpose of showing that

24     they are entitled to a bonus?

25                  MS. DUNN:   Objection to form.                  10:08:28

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1      repeat the question.                                           10:53:20

2                   Was there a recommendation made to fire

3      Mr. Levandowski at that point in time?

4                   MS. DUNN:     Same objection.       You are

5      instructed not to answer if you can only answer                10:53:29

6      based on what your conversations were with counsel.

7                   THE DEPONENT:     I cannot answer that

8      question.

9              Q.   (By Mr. Verhoeven)      Was the

10     recommendation that you referred to about removing             10:53:39

11     him from LiDAR based on a conversation with

12     attorneys?

13             A.   It was based on a bunch of conversations,

14     some of which were with attorneys.

15             Q.   Okay.     Which ones weren't with attorneys?      10:53:55

16             A.   I can't remember specific --

17     specifically.        Just knowing that that kind of

18     conversation happened, sometimes with attorneys;

19     sometimes without.

20             Q.   Okay.     What do you remember about the          10:54:07

21     conversations without attorneys?

22             A.   That having him work outside of the area

23     of this specific technology, which was where the

24     complaint was mostly focused, was probably a good

25     idea.                                                          10:54:35

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1            Q.     And what was your understanding of what                10:54:37

2      was the reason for that conversation to occur at

3      that time?

4                   MS. DUNN:   Form.

5                   THE DEPONENT:   I don't remember.         I don't      10:54:45

6      remember the specifics.

7            Q.     (By Mr. Verhoeven)    Was there some event

8      that occurred that resulted in this conversation?

9                   MS. DUNN:   Form.

10                  THE DEPONENT:   This was before the                    10:54:58

11     preliminary injunction order?

12           Q.     (By Mr. Verhoeven)    Yes, it was before

13     the preliminary injunction.

14           A.     So it's just -- look, I mean, there's not

15     a lot of days between the complaint and the PI                      10:55:08

16     order.     It wasn't a long period of time.          So I

17     think we are learning as we go, and we are trying

18     to figure out what is the right thing to do, given

19     the facts we know and what we are learning as we

20     go.                                                                 10:55:25

21           Q.     Okay.   I understand that.      But I am just

22     trying to probe your recollection of conversations.

23                  And you've testified that you had some

24     conversations about removing from Mr. Levandowski

25     from his work on LiDAR that were with others that                   10:55:36

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